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   AO 455 (Rev. 5/85) Waiver&.    ·ment
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                             UNITED STATES DISTRICT COURT
                                                                                              AP1~      2 7 2017
                          SOUTHERN DISTRICT OF CALIFORNIA



  UNITED STATES OF AMERICA                                  WAIVER OF INDICTMENT

                  v.
   PHYLLIS MARLENA SCHAFFTER,                               CASE NUMBER:      /   2C/t. f0 eta Y/Q.f/


          I, PHYLLIS MARLENA SCHAFFTER, the above-named defendant, who

  is accused of committing the following offenses:

         Importation of Methamphetamine, in violation of Title 21,
         United States Code, Sections 952 and 960 (Felony),


  being      advised        of    the      nature    of      the     charges,      the   proposed

  information,          and      of   my      rights,       hereby    waive       in   open   court

  on                                          prosecution by indictment and consent

  that      the     proceeding          may    be   by      information       rather      than   by

  indictment.




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  Before
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